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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


Esther Caraballo Rivera

     Plaintiff                                                     CIVIL ACTION

v.

Casa Febus, Inc.

     Defendant


                         COMPLAINT AND DEMAND FOR JURY TRIAL
Plaintiff, Esther Caraballo Rivera, individually and on behalf of all other individuals similarly

situated, (hereinafter referred to as “Plaintiff”) hereby sues the Defendant, Casa Febus, Inc.

doing business as Casa Febus (hereinafter referred to as "Defendant") for Injunctive Relief, and

attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”).

                                   JURISDICTION AND VENUE


1.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

        jurisdiction over actions which arise from the Defendant’s violations of Title III of the

        Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

        and § 2202.

2.      Venue is properly located in the District of Puerto Rico because venue lies in the judicial

        district of the property situs. The Defendant’s property is located in and does business

        within this judicial district.

                                                PARTIES



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3.   Plaintiff is a Puerto Rico resident, lives in Bayamon, Puerto Rico, is sui juris, and

     qualifies as an individual with disabilities as defined by the ADA. Plaintiff is severely

     limited or unable to engage in the major life activity of sitting, standing, and walking. At

     the time of Plaintiff’s visit on or around December 2016 to Defendant’s facility and prior

     to instituting this action, Plaintiff suffered from a “qualified disability” under the ADA.

     As a result of Plaintiff’s limited or inability to engage in the major life activity of sitting,

     standing, and walking, the Puerto Rico Department of Motor Vehicles issued a

     permanent handicap permit (No. 2260043) to the Plaintiff. The Plaintiff personally

     visited the Defendant’s facility but was denied full and equal access and full and equal

     enjoyment of the facilities, services, goods, and amenities within Defendant’s facility,

     even though he would be classified as a “bona fide patron”. During this visit, Plaintiff

     experienced unnecessary difficulty and risk because no purportedly accessible parking

     space was designated as “accessible” or “van accessible.” Plaintiff affirmatively claims

     knowledge of the barriers in question, as required by Disabled Americans for Equal

     Access, Inc., v. Ferries del Caribe, Inc., 405 F.3d 60 (1st Cir. 2005). Plaintiff has

     established standing regarding at least one barrier, handicapped parking spaces and thus,

     he “may, in one suit, permissibly challenge all barriers in that public accommodation that

     are related to his or her specific disability.” Doran v. 7-Eleven, Inc., 524 F.3d 1034, 1047

     (9th Cir. 2008). Plaintiff “need not necessarily have personally encountered all the

     barriers that bar his access to the [store] in order to seek an injunction to remove those

     barriers.” Pickern v. Holiday Quality Foods, Inc., 293 F.3d 1133, 1138 (9th Cir. 2002).

     Once a plaintiff encounters at least one barrier, he has standing to have all barriers related

     to his disability removed. Chapman v. Pier 1 Imports (U.S.), Inc., 631 F.3d 939, 944 (9th



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     Cir. 2011). Allowing all barriers relating to an ADA plaintiff’s disability to be brought

     forth in one action “facilitates ADA compliance by eliminating the piecemeal litigation. .

     . ” Chapman, 631 F.3d. at 953.

4.   Plaintiff will avail herself of the services offered at the facility in the future, provided that

     the Defendant modify the Premises or modify its’ policies and practices to accommodate

     individuals who use wheelchairs or individuals with limited mobility. Plaintiff frequently

     travels to the area wherein Defendant operates the subject facility to conduct various

     activities, including, but not limited to shopping, as the shopping center in which the

     restaurant is located. Plaintiff plans to avail herself of the goods and services offered to

     the public at the property –such as buying Christmas decorations or decoration for her

     home, or visit the premises solely to see merchandise and see trends in decoration– which

     is approximately less than 20 minutes from her home. Plaintiff believes that the lack

     accessible parking spaces and lack of accessible restrooms and service counters is a

     deterrent to her use of the facility, because it renders it more difficult for her to get out of

     her vehicle and use the restroom. Plaintiff is able to, would like to, and intends to use and

     enjoy the facility, but the lack of accessible parking spaces and lack of accessible

     restrooms and services counters is a deterrent and barrier to access.

5.   Completely independent of the personal desire to have access to this place of public

     accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

     purpose of discovering, encountering, and engaging discrimination against the disabled in

     public accommodations. When acting as a “tester,” Plaintiff employs a routine practice.

     Plaintiff personally visits the public accommodation; engages all of the barriers to access,

     or at least all of those that Plaintiff is able to access; and tests all of those barriers to



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     access to determine whether and the extent to which they are illegal barriers to access;

     proceeds with legal action to enjoin such discrimination; and subsequently returns to the

     premises to verify its compliance or non-compliance with the ADA and to otherwise use

     the public accommodation as members of the able-bodied community are able to do.

     Independent of other subsequent visits, Plaintiff also intends to visit the premises

     annually to verify its compliance or non-compliance with the ADA, and its maintenance

     of the accessible features of the premises. In this instance, Plaintiff, in Plaintiff’s

     individual capacity and as a “tester,” visited the Facility, encountered barriers to access at

     the Facility, and engaged and tested those barriers, suffered legal harm and legal injury,

     and will continue to suffer such harm and injury as a result of the illegal barriers to access

     and the ADA violations set forth herein. It is the Plaintiff’s belief that said violations will

     not be corrected without court intervention, and thus the Plaintiff will suffer legal harm

     and injury in the near future.

6.   Defendant owns, leases, leases to, or operates a place of public accommodation as

     defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

     36.104. The place of public accommodation that the Defendant owns, operates, leases or

     leases to is known as Casa Febus, Inc. doing business as Casa Febus, is located at Carr.

     #2 Marginal Jardines de Caparra Bayamon, PR, (hereinafter “Subject Facility”).

     Defendant also maintains and controls the Subject Facility.

         VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

7.   Plaintiff adopts and re-alleges the allegations stated in paragraph “1” through “6”of this

     complaint as if fully stated herein.




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8.   On July 26, 1990, Congress enacted the Americans With Disabilities Act ("ADA"), 42

     U.S.C. §12101 et. seq. Commercial enterprises were provided one and a half years from

     enactment of the statute to implement its requirements. The effective date of Title III of

     the ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or

     fewer employees and gross receipts of $500,000 or less. See 42 U.S.C. §12182; 28 C.F.R.

     §36.508(a).

9.   Congress found, among other things, that:

        a. some 43,000,000 Americans have one or more physical or mental disabilities, and

            this number shall increase as the population continues to grow older;

        b. historically, society has tended to isolate and segregate individuals with

            disabilities and, despite some improvements, such forms of discrimination against

            disabled individuals continue to be a pervasive social problem, requiring serious

            attention;

        c. discrimination against disabled individuals persists in such critical areas as

            employment, housing, public accommodations, transportation, communication,

            recreation, institutionalization, health services, voting and access to public

            services and public facilities;

        d. individuals with disabilities continually suffer forms of discrimination, including

            outright intentional exclusion, the discriminatory effects of architectural,

            transportation, and communication barriers, failure to make modifications to

            existing facilities and practices, exclusionary qualification standards and criteria,

            segregation, and regulation to lesser services, programs, benefits, or other

            opportunities; and



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         e. the continuing existence of unfair and unnecessary discrimination and prejudice

             denies people with disabilities the opportunity to compete on an equal basis and to

             pursue those opportunities for which our country is justifiably famous, and costs

             the United States billions of dollars in unnecessary expenses resulting from

             dependency and non- productivity.

      42 U.S.C. §12101(a)(1)-(3), (5) and (9).

10.   Congress explicitly stated that the purpose of the ADA was to:

         a. provide a clear and comprehensive national mandate for the elimination of

             discrimination against individuals with disabilities;

         b. provide, clear, strong, consistent, enforceable standards addressing discrimination

             against individuals with disabilities; and,

         c. invoke the sweep of congressional authority, including the power to enforce the

             fourteenth amendment and to regulate commerce, in order to address the major

             areas of discrimination faced on a daily by people with disabilities.

      U.S.C. §12101(b)(1)(2) and (4).

11.   Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA Standards,

      Defendant’s facility is a place of public accommodation covered by the ADA by the fact

      it is an establishment which provides services to the general public, and must be in

      compliance therewith. The building and/or Subject Facility which is a subject of this

      action is a public accommodation covered by the ADA and which must be in compliance

      therewith. As the owner, lessor, lessee, or operator of the Subject Facility, Defendant is

      required to comply with the ADA. To the extent the property, or portions thereof, existed

      prior to January 26, 1993 ("pre-existing facility"), the owner, lessor, lessee, or operator



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      has been under a continuing obligation to remove architectural barriers at that property

      whose removal was readily achievable, as required by 42 U.S.C. Section 12182. To the

      extent that the property, or portions thereof, were constructed after January 26, 1993

      ("newly constructed facility"), the owner, lessor, lessee, or operator was under an

      obligation to design and construct such facilities such that they are readily accessible to

      and usable by individuals with disabilities, as required by 42 U.S.C. Section 12183. To

      the extent that the facility, or portions thereof, were altered in a manner that affects or

      could affect its usability ("altered facility"), the owner, lessor, lessee, or operator was

      under an obligation to make such alterations in such a manner that, to the maximum

      extent feasible, the altered portions are readily accessible to and usable by persons with

      disabilities. Pursuant to 28 C.F.R. part 36.404, all newly constructed facilities were

      required to comply with the Standards For New Construction And Alterations, set forth in

      Appendix A to 28 C.F.R. part 36 ("ADAAG"). Pursuant to 28 C.F.R. part 36.404, all

      altered facilities were required to comply with the ADAAG to the maximum extent

      feasible. Pursuant to 28 C.F.R. part 36.304, all measures taken to comply with barrier

      removal requirements of 42 U.S.C. Section 12182 must also comply with the ADAAG to

      the maximum extent feasible. Failure to comply with these requirements constitutes a

      violation of the ADA.

12.   The Defendant has discriminated and continues to discriminate against the Plaintiff and

      others who are similarly situated, by denying access to, and full and equal enjoyment of

      goods, services, facilities, privileges, advantages and/or accommodations located at the

      Subject Facility as prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq., and

      by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



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13.   Plaintiff has visited the Subject Facility, and has been denied full and safe equal access to

      the facilities and therefore suffered an injury in fact.

14.   Plaintiff intends to return within the next six months provided the defendants modifies

      the facility to enjoy the goods and/or services at the Subject Facility on a spontaneous,

      full and equal basis. However, Plaintiff is precluded from doing so by the Defendant’s

      failure and refusal to provide disabled persons with full and equal access to their

      facilities. Therefore Plaintiff continues to suffer from discrimination and injury due to the

      architectural barriers which are in violation of the ADA. In other words, Plaintiff is

      currently deterred from patronizing the subject facility due to a defendant's failure to

      comply with the ADA.

15.   Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department of

      Justice, Office of the Attorney General promulgated Federal Regulations to implement

      the requirements of the ADA See 28 CFR §36 and its successor the 2010 ADA Standards

      ADA Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36,

      under which said Department may obtain civil penalties of up to $55,000 for the first

      violation and $110,000 for any subsequent violation. The Plaintiff reserves his right to

      file a formal complaint with the U.S. Department of Justice.

16.   The Defendant is in violation of 42 U.S.C. §12182 et. seq. and the 2010 American

      Disabilities Act Standards et. seq., and is discriminating against the Plaintiff as a result of

      inter alia, the following specific violations:

              SITE ARRIVAL POINTS

          a. This property fails to comply with section with: total number of parking space,

              ADA Section 208 – Table 208.2. Three purportedly accessible parking spaces are



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        provided for this purpose in the front of the supermarket. None are ADA

        compliant and thus, the minimum number of accessible parking spaces is not met.




     b. This property fails to comply with: Parking Sign. One ADA compliant parking

        sign is inexistent. The height was less than 60” min. above finished floor.




     c. This property fails to comply with: Location of accessible parking spaces.

        Accessible parking spaces must be located on the shortest accessible route of

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        travel to an accessible facility entrance. Where buildings have multiple accessible

        entrances with adjacent parking, the accessible parking spaces must be dispersed

        and located closest to the accessible entrances. When accessible parking spaces

        are added in an existing parking lot or structure, locate the spaces on the most

        level ground close to the accessible entrance. An accessible route must always be

        provided from the accessible parking to the accessible entrance. An accessible

        route never has curbs or stairs, must be at least 3 feet wide, and has a firm, stable,

        slip- resistant surface. The slope along the accessible route should not be greater

        than 1:12 in the direction of travel. Accessible parking spaces may be clustered in

        one or more facilities if equivalent or greater accessibility is provided in terms of

        distance from the accessible entrance, parking fees, and convenience. Van-

        accessible parking spaces located in parking garages may be clustered on one

        floor (to accommodate the 98-inch minimum vertical height requirement). One of

        the main concerns is the access route to the main entrance.

     d. This property fails to comply with: width of car accessible parking spaces. Car

        accessible parking spaces shall be 96 inches wide minimum, marked to define the

        width, and maximum slope in all directions is 1:48. Boundary of the access aisle

        must be clearly marked so as to discourage parking in it. It was found that the

        parking spaces were less than 96 inches and not properly marked with blue logo.

     e. This property fails to comply with: width of aisle of car accessible parking

        spaces. Access aisle width shall be at least 60 inches, must be at the same level

        and the same length as the adjacent parking space(s) it serves, maximum slope in

        all directions is 1:48, and access aisle must connect to an accessible route to the



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        building. Ramps must not extend into the access aisle. It was found that the aisle

        of the parking spaces were less than 60 inches and not properly marked with blue

        logo. These features are not available at the facility.

     f. The parking areas designated for persons with disabilities should be relocated

        since there are multiple non-compliances, gradient problems, and changes in

        surface levels in paved areas in street level are hazardous and no wheel stops are

        provided.




     g. This property fails to comply with: signage of van accessible parking spaces.

        Van-accessible parking spaces incorporate the features of accessible parking

        spaces on the previous paragraph and require the following additional features: a

        "van accessible" designation on the sign. These features are not available at the

        facility.

     h. This property fails to comply with: van accessible parking space vertical

        clearance. Van-accessible parking spaces incorporate the features of accessible


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        parking spaces on the previous paragraph and require the following additional

        features: at least 98 inches of vertical clearance for the van parking space. These

        features are not available at the facility.

     i. This property fails to comply with: vehicular route of van accessible parking

        spaces. Van-accessible parking spaces incorporate the features of accessible

        parking spaces on the previous paragraph and require the following additional

        features: vehicular route to and from the van-accessible space. Generally, access

        aisles may be located on either side of the parking space except for angled van

        parking spaces which must have access aisles located on the passenger side of the

        parking spaces. These features are not available at the facility.

     j. This property fails to comply with: van accessible parking spaces and aisle. Van-

        accessible parking spaces incorporate the features of accessible parking spaces on

        the previous paragraph and require the following additional features: Van parking

        space must be 132 inches wide minimum with an adjacent 60-inch wide minimum

        access aisle. A van parking space of 96 inches wide minimum with an adjacent

        96-inch wide minimum access aisle is also permitted (see below). These features

        are not available at the facility.




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        ENTRANCE

     k. This property fails to comply with: entrance ramp does not comply with the 1:12

        gradient. Requirement. A 1:12 ramp slope ratio, which equals 4.8 degrees slope or




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        one foot of wheelchair ramp for each inch of rise, is not provided. Here, a 10 inch

        rise requires a 10 foot accessible wheelchair ramp.

     l. This property fails to comply with: handrails of ramp. The handrails are not

        between 34" and 38" in height on both sides of the wheelchair ramps.




       SERVICE AND SALES COUNTER


     m. The interior of the Facility has sales and services counters lacking any portion of

        the counter that has a maximum height of 36 inches from the finished floor in

        violation of section 904.4 of the 2010 ADAAG regulations, all portions of the

        sales and service counter exceed 36 inches in height from the finished floor. This

        violation made it difficult for Plaintiff to properly transact business at the Facility.




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     n. Providing counter heights exceeding 36 inches making it impossible or

        unnecessarily difficult to service a disabled person pursuant to 2010 ADAAG §§

        904, 904.4, 904.4.1, 904.4.2




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        RESTROOM

     o. Failure to provide parts, which are functional or are in the proper reach ranges as

        required for a disabled person. 2010 ADAAG secs. 309, 309.1, 309.3 and 309.4.

     p. Failure to provide the proper insulation or protection for the plumbing under a

        sink or countertop in violation of 2010 ADAAG secs. 606, 606.5.

     q. Providing grab bars of improper horizon lenth or spacing on the back or the side

        wall in violation of 2010 ADAAG secs. 604, 604.5, 604.5.1, 604.5.2, 609, 609.4.

     r. Failure to provide mirror(s) located above the lavatories or countertops at the

        proper height above the finished floor. 2010 ADAAG secs 603, 603.3.

     s. Failure to provide the water closet in the proper position relative to the side

        wall or partition in violation of 2010 ADAAG secs 604, 604.2.
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     t. Failure to provide signage for an accessible restroom or failure to redirect a

        disabled person to the closest available accessible restroom facility in violation of

        2010 ADAAG secs 216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2, 703.5, and

        703.2.1.

     u. Failure to provide knee clearance for a disabled person under a counter or sink

        element in violation of 2010 ADAAG secs 306, 306.1, 306.3.

     v. Failure to provide toe clearance for a disabled person under a counter or sink

        element in violation of 2010 ADAAG secs 306, 306.1, 306.2, 306.2.1.

     w. The lavatories and/or sinks in the restrooms have exposed pipes and surfaces and

        are not insulated or configured to protect against contact in violation of section

        606.5 of the 2010 ADAAG regulations. This made it difficult for Plaintiff to

        safely utilize the restroom facilities.

     x. The sink hardware has operable parts which require tight grasping, pinching or

        twisting of the wrist in violation of section 309.4 of the 2010 ADAAG

        regulations. This made it difficult for Plaintiff to utilize the restroom facilities

     y. The accessible toilet stall door is not self-closing and/or otherwise violates

        section 604.8.2.2 of the 2010 ADAAG standards. This made it difficult for the

        Plaintiff to safely utilize the restroom facilities.

     z. The Facility lacks restrooms signage in compliance with sections 216.8 and 703

        of the 2010 ADAAG regulations. This made it difficult for Plaintiff to locate

        accessible restroom facilities.




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     aa. There is inadequate clear turning space in the stall in violation of section 603.2.1

        of the 2010 ADAAG regulations. This made it difficult for Plaintiff to safely

        utilize the restroom facilities.

     bb. There is a vertical rise exceeding ½ inch at the threshold to the door leading to

        the restrooms in violation of section 404.2.5 of the 2010 ADAAG regulations.

        This made it difficult for Plaintiff to safely utilize the restroom facilities.

     cc. Failure to provide the minimum required circular turning clearance for a

        disabled person due to a wall or some other obstruction that does not comply with

        standards 2010 ADAAG §§ 304, 304.3, 304.3.1, 603, 603.2 and 603.2.1.

     dd. Providing grab bars of improper horizontal length or spacing on the back or

        side wall pursuant to 2010 ADAAG §§ 604, 604.5, 604.5.1, 604.5.2, 609, 609.4.

     ee. Failure to provide grab bars at 33 inches minimum and 36 inches maximum

        above the finish floor measured to the top of the gripping surface pursuant to 2010

        ADAAG §§ 604, 609, 609.4.

     ff. Failure to provide mirror(s) located above lavatories or countertops at the proper

        height above the finished floor 2010 pursuant to ADAAG §§ 603, 603.3.




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17.   To the best of Plaintiff’s belief and knowledge, the Defendant has failed to eliminate the

      specific violations set forth in paragraph 16.

18.   To the best of Plaintiff’s belief and knowledge, the Defendant has failed to eliminate the

      specific violations set forth in paragraph 16.

19.   Plaintiff has attempted to gain access to the Facility and/or Property in his capacity as a

      customer, but because of his disability has been denied access to, and has been denied the

      benefits of services, programs, and activities of the Facility and/or Property, and has

      otherwise been discriminated against and damaged by Defendants, because of the

      physical barriers, dangerous conditions and ADA violations set forth above, and expect to

      be discriminated against in the near future by Defendants because of Plaintiff’s

      disabilities, unless and until Defendants are compelled to remove unlawful barriers and

      conditions and comply with the ADA.

20.   All of the above violations are readily achievable to modify in order to bring the

      Facility/Property into compliance with the ADA as the modifications can be easily

      accomplished and are able to be carried out without much difficulty or expense. 42

      U.S.C.12182 (b)(2)(A)(iv); 42 U.S.C. 12181(9); 28 C.F.R. 36.304.

21.   Upon information and belief the Defendant has the financial resources to make the

      necessary modifications.

22.   Upon information and belief the Property has been altered since 2010.

23.   In instances where the 2010 ADAAG standard does not apply, the 1991 ADAAG

      standard applies and all of the violations listed in paragraph 16 can be applied to the 1991

      ADAAG standards.




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24.   Plaintiff is a frequent visitor of the area where Defendant’s property is located, as her

      home is near to the Subject Facility.

25.   As alleged in paragraph 3, Plaintiff visited the property which forms the basis of this

      lawsuit and at that time and place, she encountered the discriminatory violations

      described in paragraph 16.

26.   As an individual with limited mobility, Plaintiff has a keen interest in whether public

      accommodations have architectural barriers that impede full accessibility to those

      accommodations by individuals with mobility impairments.

27.   Plaintiff plans to return to the property to avail herself of the goods and services offered

      to the public at the property and to determine whether the property has been made ADA

      compliant.

28.   As detailed in paragraph 16, Plaintiff has encountered barriers at the subject property

      which discriminate against her on the basis of his disability.

29.   In the alternative, Plaintiff is an advocate of the rights of similarly situated disabled

      persons and is a "tester" for the purpose of asserting his civil rights and monitoring,

      ensuring, and determining whether places of public accommodation are in compliance

      with the ADA.

30.   Plaintiff should not be discouraged from pointing out public accommodations that are

      breaking the law. From 1991 to 2015, 25 years, there was no meaningful enforcement of

      the Title II/III of the ADA in Puerto Rico, and the results are obvious: architectural

      barriers everywhere. Tester standing is imperative to ensure that the rights guaranteed by

      the ADA do not become meaningless abstractions.




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31.   Many people are reluctant to bring lawsuits against businesses for violations of the ADA

      or are unaware of what constitutes a violation under a very cumbersome and technically

      detailed statute. Other victims of ADA violations may not have the incentive or the

      resources to bring ADA lawsuits.

32.   Thus testers, as private attorneys general, serve a vital role in redressing the injuries

      suffered due to violations of Title III of the ADA. Overall, denying relief to individuals

      who prove they were victims of discrimination, even as testers, weakens and undercuts

      congressional intent to deter and remedy discrimination through utilization of private

      individuals to enforce the statute.

33.   In fact, the Supreme Court supported the idea of private attorneys general in the

      employment context, stating: "We have rejected the unclean hands defense `where a

      private suit serves important public purposes.' Plaintiff plan to return to the property as a

      "tester" for the purpose of asserting his civil rights and monitoring, ensuring, and

      determining whether places of public accommodation are in compliance with the ADA.

      As civil right activist, Plaintiff intent to return to the Subject Facility to verbally and face-

      to-face demand ADA compliance to Defendant’s manager’s within six months.

      Plaintiff's "undisputed tester motive behind his plan to return does not defeat standing."

      Houston v. Marod Supermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013); See also Colorado

      Cross Disability Coal v. Abercrombie & Fitch Co., 765 F.3d 1205, 1211 (10th Cir. 2014);

      Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1332 (11th Cir. 2013); D'Lil v.

      Best W. Encina Lodge & Suites, 538 F.3d 1031, 1040 (9th Cir. 2008); see also Steelman

      v. City of Salem, No. 4:12-CV-00191, 2013 WL 1363792, at 4 (E.D. Mo. Apr. 4, 2013);

      Betancourt v. 2 Combs Enterprises, Inc., No. 10-3364-CV-S-MJW, 2011 WL 846849, at



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      *3 (W.D. Mo. Mar. 8, 2011). As the Eighth Circuit and other appellate courts have

      recognized, private litigation serves as an important means to enforce the public policy

      behind civil rights statutes such as the ADA and serial litigants serve a valuable purpose

      as private attorneys generals ensuring that the ADA yields its promises of equal access to

      disabled persons. See Shaver v. Indep. Stave Co., 350 F.3d 716, 724-25 (8th Cir. 2003)

      (citing Kyles v. J.K. Guardian Sec. Servs., Inc., 222 F.3d 289, 299 (7th Cir. 2000); see

      also Molski v. Evergreen Dynasty Corp., 500 F.3d 1047, 1062 (9th Cir. 2007); Bruce v.

      City of Gainesville, Ga., 177 F.3d 949, 952 (11th Cir. 1999); Suarez-Torres v.

      Borinquena Metro, Civil No. 16-1609 (DRD) (Docket No. 12); Suarez-Torres et al v.

      Restaurantes Fridas, Inc., Civil No. 16-1912 (FAB) (CVR) (Docket No. 12).

34.   The violations present at Defendant's facility create a hazard to Plaintiff's safety.

35.   Plaintiff is continuously aware of the violations at Defendant's facility and is aware that it

      would be a futile gesture to return to the property as long as those violations exist unless

      he is willing to suffer additional discrimination.

36.   The remedial provision of Title III states that “[n]othing in this section shall require a

      person with a disability to engage in a futile gesture if such person has actual notice that a

      person or organization covered by this subchapter does not intend to comply with its

      provisions.” 42 U.S.C. § 12188(a)(1). In the legislative history of the ADA, Congress

      noted that the “futile gesture” doctrine was set forth in the case of International Bhd. of

      Teamsters v. United States, 431 U.S. 324 (1977). See H.R. Rep. 101-485(II), 101st

      Cong., 2d Sess. at 82-83, reprinted in 1990 U.S.C.C.A.N. 303, 365. ADA – like the

      Equal Protection Clause, Title VII and the Fair Housing Act – prohibits a certain type of

      discrimination. And as is the case with the Equal Protection Clause, Title VII and the Fair



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    Housing Act, injury under the ADA consists of the discrimination -- in and of itself --

    that deprives the plaintiff of the opportunity to obtain a benefit rather than the lack of the

    benefit itself. Thus, to impose liability under Title III, the barrier does not need to

    completely preclude plaintiff from entering or using the facility; it need only interfere

    with the plaintiff's full and equal enjoyment of the facility. See Moeller v. Taco Bell

    Corp., 816 F.Supp.2d 831, 848 (N.D.Cal.2011) (citing 1183*1183 Doran v. 7-Eleven

    Inc., 524 F.3d 1034, 1041 n. 4 (9th Cir.2008) (discussing that the ADA "does not limit

    its antidiscrimination mandate to barriers that completely prohibit access.")).

    "Because the ADAAG establishes the technical standards required for `full and equal

    enjoyment,' if a barrier violating the ADAAG relates to a plaintiff's disability, it will

    impair the plaintiff's full and equal access, which constitutes `discrimination' under

    the ADA, thereby violating the ADA." Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d

    939, 947 (9th Cir.2011). Here, the odds of the injury occurring again are certain where

    the building is not in compliance with the ADA and the Plaintiff and every other person

    with the same disability is going to confront the same barrier on every future visit.

    Second, the Plaintiff have an actual and present injury i.e. being deterred from visiting

    the building because he is at-all-times aware of the barriers at the Subject Facility. Third,

    Plaintiff is deterred from patronizing the Subject Facility and suffers the ongoing actual

    injury of not being able to access that Store/Subject Facility. Finally, the risk of injury in

    fact is not speculative because the discriminatory barriers or policies remain in place, the

    Plaintiff remain disabled, and the Plaintiffs are able and ready to visit the facility once it

    is made ADA compliant.




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37.   A number of courts have rejected the "intent to return" or "likely to return" theory as the

      only way to demonstrate standing for injunctive relief on the grounds that "the odds of

      the injury recurring are certain where a building is not in compliance with the ADA" and

      any person "with the same disability" will face the same barrier on any visit. Instead,

      some courts, including the First Circuit, apply the "deterrent effect doctrine," which holds

      that an individual suffers an injury-in-fact sufficient to confer standing if he is deterred

      from visiting a public accommodation because it is not in compliance with the law;

      plaintiffs need not engage in the "futile gesture" of returning to a building with known

      barriers that the owner does not intend to remedy. As you know, the deterrence effect

      theory is grounded in language of the ADA stating that a plaintiff does not have to

      "engage in a futile gesture if such person has actual notice that a person or organization

      does not intend to comply" with the statute. Hunter II, 2013 WL 4052411, at *3, quoting

      42 U.S.C. § 12188(a)(1). See, e.g., Chapman v. Pier 1 Imports (U.S.), Inc., 631 F.3d 939,

      949-50 (9th Cir. 2011)("Demonstrating an intent to return to a noncompliant

      accommodation is but one way for an injured plaintiff to establish Article III standing to

      pursue injunctive relief. A disabled individual also suffers a cognizable injury if he is

      deterred from visiting a noncompliant public accommodation because he has encountered

      barriers related to his disability there."); Disabled Ams. for Equal Access, Inc. v. Ferries

      Del Caribe, Inc., 405 F.3d 60, 64 (1st Cir.2005) ("`[A] disabled individual who is

      currently deterred from patronizing a public accommodation due to a defendant's failure

      to comply with the ADA' and `who is threatened with harm in the future because of

      existing or imminently threatened noncompliance with the ADA' suffers actual or

      imminent harm sufficient to confer standing."); Steger v. Franco, 228 F.3d 889, 892 (8th



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    Cir.2000) ("Although plaintiffs need not engage in the `futile gesture' of visiting a

    building containing known barriers that the owner has no intention of remedying... they

    must at least prove knowledge of the barriers and that they would visit the building in the

    imminent future but for those barriers."); Hunter II,2013 WL 4052411, at *3 ("The

    second recognized way to establish injury-in-fact is for the 584*584 plaintiff to show that

    he is continually injured by being deterred from making use of the allegedly

    noncompliant public accommodation.... `[A] plaintiff who is deterred from patronizing a

    store suffers the ongoing actual injury of lack of access to the store.'"); Betancourt v.

    Federated Dep't Stores, 732 F.Supp.2d 693, 709 (W.D.Tex.2010) ("[T]he Supreme Court

    recognized deterrence as an injury in fact sufficient to confer standing for prospective

    relief in Friends of the Earth, Inc. v. Laidlaw Envt'l Services, 528 U.S. 167, 120 S.Ct.

    693, 145 L.Ed.2d 610 (2000)"; "[T]he risk of injury in fact is not speculative so long as

    the alleged discriminatory barriers remain in place, the plaintiff remains disabled, and the

    plaintiff is `able and ready' to visit the facility once it is made compliant. If the disabled

    plaintiff returns to the location, the same discrimination will occur until the facility is

    made compliant."). See also Fiedler v. Ocean Props., Ltd., 683 F.Supp.2d 57, 69

    (D.Me.2010); Scherr v. Marriot Intern., Inc., 833 F.Supp.2d 945, 952-53 (N.D.Ill.2011)

    (Noting that the "`deterrent effect doctrine'-supported by the reasoning of the Ninth,

    Eighth and First Circuits is gaining support" and applying it) (citing Betancourt). In

    Kramer v. Lakehills South, LP, No. A-13-CA-591 LY, 2014 WL 51153, at *4 (W.D.Tex.

    Jan. 7, 2014), the district court applied the deterrent effect doctrine and observed: “[t] he

    Fifth Circuit appears to have endorsed this theory in Frame v. City of Arlington, 657 F.3d

    215, 236 (5th Cir., 2011) (a Title II ADA case),cert. denied, ___ U.S. ___, 132 S.Ct.



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      1561, 182 L.Ed.2d 168 (2012),when it stated that "a disabled individual need not engage

      in futile gestures before seeking an injunction; the individual must show only that [the

      inaccessible object or place] affects his activities in some concrete way.".

38.   The violations present at Defendant's facility infringe Plaintiff's right to travel free of

      discrimination. Plaintiff has suffered, and continues to suffer, frustration and humiliation

      as the result of the discriminatory conditions present at Defendant's facility.

39.   By continuing to operate a place of public accommodation with discriminatory

      conditions, Defendant contributes to Plaintiff's sense of isolation and segregation and

      deprives Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges

      and/or accommodations available to the general public.

40.   By encountering the discriminatory conditions at Defendant's facility, and knowing that it

      would be a futile gesture to return unless he is willing to endure additional

      discrimination, Plaintiff is deprived of the meaningful choice of freely visiting the same

      accommodations readily available to the general public and is deterred and discouraged

      from additional travel. By maintaining a public accommodation with violations,

      Defendant deprives plaintiff the equality of opportunity offered to the general public.

41.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of

      the Defendant’s discrimination until the Defendant is compelled to comply with the

      requirements of the ADA.

42.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

      Defendant’s non-compliance with the ADA with respect to this property as described but

      not necessarily limited to the allegations in paragraph 16 of this Complaint.




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43.   Plaintiff has reasonable grounds to believe that he will continue to be subjected to

      discrimination in violation of the ADA by the Defendant.

44.   Plaintiff desires to visit the subject facility not only to avail herself of the goods and

      services available at the property but to assure herself that this property is in compliance

      with the ADA so that he and others similarly situated will have full and equal enjoyment

      of the property without fear of discrimination.

45.   The Defendant has discriminated against the Plaintiff by denying her access to, and full

      and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

      accommodations of the subject property, as prohibited by 42 U.S.C. § 12182 et seq.

46.   The discriminatory violations described in paragraph 16 are not an exclusive list of the

      Defendant’s ADA violations.

47.   Plaintiff requires the inspection of the Defendant’s place of public accommodation in

      order to photograph and measure all of the discriminatory acts violating the ADA and all

      of the barriers to access. The Plaintiff, and all other individuals similarly situated, have

      been denied access to, and have been denied the benefits of services, programs and

      activities of the Defendant’s buildings and its facilities, and have otherwise been

      discriminated against and damaged by the Defendant because of the Defendant’s ADA

      violations, as set forth above.

48.   The Plaintiff and all others similarly situated will continue to suffer such discrimination,

      injury and damage without the immediate relief provided by the ADA as requested

      herein.




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49.   In order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

      Defendant’s place of public accommodation in order to determine all of the areas of non-

      compliance with the Americans with Disabilities Act.

50.   Defendant has discriminated against the Plaintiff by denying her access to full and equal

      enjoyment     of   the   goods,   services,    facilities,   privileges,   advantages   and/or

      accommodations of its place of public accommodation or commercial facility in violation

      of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq.

51.   Furthermore, the Defendant continues to discriminate against the Plaintiff, and all those

      similarly situated by failing to make reasonable modifications in policies, practices or

      procedures, when such modifications are necessary to afford all offered goods, services,

      facilities, privileges, advantages or accommodations to individuals with disabilities; and

      by failing to take such efforts that may be necessary to ensure that no individual with a

      disability is excluded, denied services, segregated or otherwise treated differently than

      other individuals because of the absence of auxiliary aids and services.

52.   Plaintiff is without adequate remedy at law and is suffering irreparable harm.

53.   Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees,

      costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28

      CFR 36.505.

54.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

      Injunctive Relief, including an order to require the Defendant to alter the subject facility

      to make those facilities readily accessible and useable to the Plaintiff and all other

      persons with disabilities as defined by the ADA; or by closing the facility until such time

      as the Defendant cures its violations of the ADA.



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                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for:


    A. A declaratory judgment that Defendant is in violation of the specific requirements of

       Title III of the ADA described above, and the relevant implementing regulations of the

       ADA, in that Defendant’s facilities, as described above, are not fully accessible to, and

       independently usable by, individuals who use wheelchairs or limited mobility;

    B. A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504 (a)

       which directs Defendant to take all steps necessary to remove the architectural barriers

       described above and to bring its facilities into full compliance with the requirements set

       forth in the ADA, and its implementing regulations, so that its facilities are fully

       accessible to, and independently usable by, individuals who use wheelchairs or

       individuals with limited mobility, and which further directs that the Court shall retain

       jurisdiction for a period to be determined after Defendant’s facilities come into

       compliance with the relevant requirements of the ADA to ensure that Defendant has

       adopted and is following an institutional policy that will in fact cause Defendant to

       remain fully in compliance with the law;

    C. Payment of costs of suit;

    D. Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §

       36.505; and,

    E. The provision of whatever other relief the Court deems just, equitable and appropriate.

                                     RESPECTFULLY SUBMITTED,


                                     /S/JOSE CARLOS VELEZ-COLÓN, ESQ.
                                     USDC-PR NO.: 231014


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